Case 2:14-cv-01884-BJR Document 25-11 Filed 04/28/16 Page 1 of 4




                   Exhibit 12
    Case 2:14-cv-01884-BJR Document 25-11 Filed 04/28/16 Page 2 of 4


                                    SWORN STATEMENT
                     FOR OFFICIAL USE ONLY LAW ENFORCEMENT SENSITIYE



   File Number:           -11-CID093
                     o.;? ol.\
   Location:       Fort Stewart, GA 31314
   Date:
   Time:
                   •· '""> ""'"'<
                            .!20 ,, )~

   Statement of:
   Rank/Status:    --=-&_•v_ _ _~---,----
   SSN:
   Org/Address:




                     FOR OFFICIAL USE ONLY LAW ENFORCEMENT SENSITIVE



B004983
                                                                               1
                                                                                 '~==
                                                                               CONFIDENTIAL
                                                                       Exhlblt_;_,
                                                                               JAHR0014542
     Case 2:14-cv-01884-BJR Document 25-11 Filed 04/28/16 Page 3 of 4

                                                                                                            (




  1 A:   v   t...-
    Q:   lrJ\-to ;0. bl&X:{




   fl~~~~.
                      7t~o.:,.~..,.l\c.u..J<4 ~~.~«...,.).                          :s-.--,.~   .-.. ...... .-t1 sr':Ht... ~    ,t,..... tar1..;;... ~.
   Q:    ww..- :s        'I""''   "•M \

   /1:~ I -\\.r~ :~ ov-\- \~ ...,:IL-~tt.t' ~¥-:>f>..'~'~t?k~\...'.5 c..:>-ftJ"'+y.,,.J +lol.l;)l,+.
   Q~ p,J '(""' 'ht...- A\V!AI'tOS ~~ ti&~A-IG-"-:S: el-.,.., "h:\- <Mdr7;b.lv~•~ \\'A<Sv;\k'(
    ll\ .AJo. 1\«- ~:,.H V-M<- ): ~ ,J.,-1-~-\-J Jl&u..rC,.~~o.I s.-.~ ......_ ~.,J,\ \u \:k.._ \(J.,,_, t-!v.J
         '" -\4          \Ia.!,, We- -~'-~-;\,~ 1-><..           Wci   k-:I.L..,.
      : Ovvc.l. \.\.._. , H<.               w<-f..!t   <. .\.,    J.,J               ;~"          '"";a. '- • >Sk \t<. \~""-> •~
         1"1 el ""'""· l'f..-;!, ..,.;\(. 1,,. w;t<e' o.,J                1b-t .,<-             c.!.._,t h t..,..._   ~ lrlti<D''(.

    A! He ;s         ~......_,._, p...l      '"' :~ -1:1., t:..'ry'~ o'f ~ ~swl5, ,Unk ~" -; ~ a7 ~1-o'if>,
         tv&~    ll·b     <:17...-..... J   ,,):: Lt. o 'I P.                                ..        ·




                              INITIALS OF PERSON MAKING                        STATEME~T
                                            PAGE :J OF 3                                PAGES
                                  FOR OFFICIAL UsE 0~LAWENFORCEME                                        SENSITIVE
                                                                                                                           Exhlbll    lI

B004984                                                                                                                                          CONFIDENTIAL
                                                                                                                                                  JAHR0014543
     Case 2:14-cv-01884-BJR Document 25-11 Filed 04/28/16 Page 4 of 4




                                                                                          1\

                                        AFFIDAVIT                                                 4 20 g 1


   I, ;Je->s~ ... \Z ~ <. \} £ /... € 2.       , have read or had read to me this statement
   which begins on page 1 and ends on page .,..L. I fully understand the contents of the
   entire statement made by me. The statement is true. I hl\ve initialed all corrections and
   have initialed the bottom of each page containing the statement. I have made this
   statement freely without hope of benefit or reward, without threat of punishment, and
   without coercion, unlawful influence, or unlawful inducement.




   Subscribed and sworn to before me, a person authorized by law to administer oath, this
    !S~dayof J~.-.<-          ,2011,atFortStewart,GA31314.




   WITNESSES:




   ORGANIZATION AND ADDRESS                        (Typed Name of Person Administering Oath)



                                                   30tl' Military Police Detachment (CID)
                                                   Fort Stewart, GA 31314

                                                   (ORGANIZATION AND ADDRESS)


                                                  10 usc 936

                                                   (Authority to Administer Oath)




                     INITIALS OF PERSON MAKING     STATEME~·
                                   PAGE :3 OF 3       PAGE
                       FOR OFFICIAL USE ONLYLA\VENFORCEM          SENSITIVE
                                                                                    Exhlbll~/1-'---

B004985                                                                                               CONFIDENTIAL
                                                                                                       JAHR0014544
